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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 MELISSA THORNLEY, DEBORAH                    )
 BENJAMIN-KOLLER, and JOSUE                   )
 HERRERA, individually and on behalf of       )
 all others similarly situated,               )
                                              )       Case No. ______________
                Plaintiffs,                   )
                                              )
 v.                                           )
                                              )
 CLEARVIEW AI, INC.,                          )
                                              )
                Defendant.                    )


                CORPORATE DISCLOSURES OF CLEARVIEW AI, INC.

       Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 3.2, Defendant Clearview

AI, Inc. (“Clearview”), through its undersigned counsel, hereby discloses that Clearview is a

private Delaware corporation. It does not have a publicly held parent company. Rothschild

Investment Trust Capital Partners plc owns greater than 5 percent of Clearview. No publicly

held company owns more than 10 percent of Clearview.


Dated: June 30, 2020                                    Clearview AI, Inc.

                                                        By: /s/ David Saunders
                                                                One of its attorneys

                                                               David Saunders
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                                  CERTIFICATE OF SERVICE

       I, David P. Saunders, an attorney, hereby certify that on June 30, 2020, I caused one copy

of the foregoing CORPORATE DISCLOSURES OF CLEARVIEW AI, INC. to be served on

counsel listed below by e-mail:

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                                                           By:     /s/ David Saunders




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